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cs GOLDBERG S EGALLA™ Kristin Klein Wheaton | Partner

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June 20, 2018

Hon. Lawrence J. Vilardo

United States District Judge

Robert H. Jackson United States Courthouse
2 Niagara Square

Buffalo, New York 14202

Re:  Curto vy. Erie County Water Authority
Civil Action No.: 1:18-cv-00695

Dear Judge Vilardo:

We represent the Erie County Water Authority and Earl L. Jann, Jr. ("Defendants") in the
above referenced matter. We respectfully request a 30-day extension of time for Defendants to
answer or otherwise respond to Plaintiff's complaint.

Our firm was retained on Monday June 18, 2018. Because we filed a notice of removal on
June 19, 2018, our current deadline to respond is June 26, 2018. We respectfully request an
extension of time until July 19, 2018, to allow us to fully investigate and respond to the complaint
which appears to assert at least twenty causes of action under both federal and state law.

We attempted to contact Ms. Curto by telephone yesterday to request her consent to an
extension of time; however, the telephone number associated with Ms. Curto's federal ECF account
is disconnected. In addition, we sent the attached email to Ms. Curto requesting an extension of
time and we have not yet heard from her. We respectfully submit that Ms. Curto will not be
prejudiced by an extension of time given the fact that this matter was recently commenced.

Please contact me if we can provide anything further. Thank you very much for your time
and consideration.

Respkctfully submitted,

 

Enclosure
KK:jdm

ce: Patricia Curto (via e-mail and U.S. Mail)

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Macri, James D.

From: Macri, James D.

Sent: Tuesday, June 19, 2018 1:02 PM

To: ‘nikkidog1125@yahoo.com'

Cec: Klein Wheaton, Kristin; Pitman, Ryan G.

Subject: Curto v. Erie County Water Authority: Index No. 808216/2018

Attachments: Filed Civil Cover Sheet.pdf; Filed Notice of Removal (Federal).pdf; Filed Notice of Filing

Notice of Removal (State).pdf

Dear Ms. Curto:

My firm was recently retained to represent the defendants in the above referenced matter. It is our understanding that
you are representing yourself in this matter. If this has changed, please let me know so {| can discuss this matter with
any attorney you have retained.

| write to inform you of our representation, to supply you with a courtesy copy of the notice of removal filed today, and
to request an extension of time to respond to your complaint. With regard to the notice of removal, this morning my
firm filed the attached notice of removal papers from state to federal court. The papers were also served by mail and —
you should receive physical copies within a few days. Please let me know if you do not receive the papers by Friday.

With regard to our request for an extension, we are requesting a 30 day extension (until July 19) to answer or otherwise
respond to your complaint. Please let us know whether you consent to our requested extension.

Thank you for your consideration. Please feel free to call me to discuss this matter further.

Best regards,
James

GOLDBERG SEGALLA

New York . llinois . Florida ‘ California ; Maryland » Missouri
North Carolina | Penosyivania | New Jersey ‘ Connecticut, United Kingdom.

‘James D. Macri, Esq.

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